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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
 Aerial West, LLC,                                                    CASE NUMBER:
                                                                                       2:18-CV-02288-JAK-SS
                                                       Plaintiff(s)
                                 v.
                                                                       ORDER ON REQUEST FOR APPROVAL OF
 Drone World, LLC, Stephen Paul McKenna, and DOES 1-                    SUBSTITUTION OR WITHDRAWAL OF
 10, inclusive,                                                                    ATTORNEY
                                                    Defendant(s).


        The Court hereby orders that the request of:

Drone World, LLC / Stephen Paul McKenna  Plaintiff                      Defendant  Other              Counterclaimants
                Name of Party

to substitute   Brian P. Kinder of The Kinder Law Group, APC                                              who is

         Retained Counsel                 Counsel appointed by the Court (Criminal cases only)                   Pro Se

        19200 Von Karman Avenue, Fourth Floor
                                                               Street Address


        Irvine, California 92612                                                                bkinder@tklglaw.com
                           City, State, Zip                                                              E-Mail Address


        (949) 216-3070                               (949) 216-3074                                      212332
        Telephone Number                                       Fax Number                                State Bar Number


as attorney of record instead of              All attorneys from Mandour & Associates, APC, including,
                                                List all attorneys from same firm or agency who are withdrawing
        Joseph A. Mandou, III and Ben T. Lila


is hereby        GRANTED                      DENIED

The clerk is hereby ordered to terminate Notices of Electronic Filing for the withdrawing attorney(s) in this
case.

        Dated: October 25, 2018
                                                                        JOHN A. KRONSTADT
                                                                        U. S. DISTRICT JUDGE



G-01 ORDER (09/17)(PROPOSED) ORDER ON REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWAL OF ATTORNEY
